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                          IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                  FAYETTEVILLE DIVISION

      UNITED STATES OF AMERICA                                                 PLAINTIFF

                   v.            No. 5:12-cr-50008-001

      CELEN ZENDEJAS                                                           DEFENDANT


                                          O R D E R

             Now   on    this   11th     day   of    April    2013,    comes    on   for

      consideration the Magistrate Judge's Report and Recommendation

      (document #319), filed on March 19, 2013, to which no objections

      have    been      made.   The    Court   has    reviewed      the   Report     and

      Recommendation and, being well and sufficiently advised, finds

      that it is proper and should be adopted in its entirety.

             IT IS THEREFORE ORDERED that the Magistrate Judge's Report

      and Recommendation (document #319) is adopted in toto.

             IT IS FURTHER ORDERED that, for the reasons stated in the

      Report and Recommendation, the defendant's pro se Motion to Vacate

      Under 28 U.S.C. § 2255 (document #316) is hereby dismissed without

      prejudice.

             IT IS SO ORDERED.



                                                 /s/ Jimm Larry Hendren
                                                JIMM LARRY HENDREN
                                                UNITED STATES DISTRICT JUDGE
